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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO í32)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 290 F.Supp.3d 1375 (J.P.M.L. 2017). Since that time, 626 additional action(s)
have been transferred to the Northern District of Ohio. With the consent of that court, all such
actions have been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:


                May 29, 2018
                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel
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IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                MDL No. 2804



                  SCHEDULE CTOí32 í TAGíALONG ACTIONS



 DIST      DIV.      C.A.NO.       CASE CAPTION


ARIZONA

                                   Arizona Counties Insurance Pool v. Purdue Pharma LP
  AZ        2       18í01439       et al

CALIFORNIA EASTERN

                                   County of Merced, et al v. Amerisourcebergen Drug
  CAE       1       18í00631       Corporation et al
                                   County of Glenn v. Amerisourcebergen Drug
  CAE       2       18í01139       Corporation et al
                                   County of Sutter v. Amerisourcebergen Drug
  CAE       2       18í01140       Corporation et al
                                   County of Modoc v. Amerisourcebergen Drug
  CAE       2       18í01141       Corporation et al
                                   County of Placer v. Amerisourcebergen Drug
  CAE       2       18í01143       Corporation et al
                                   County of Yuba v. Amerisourcebergen Drug
  CAE       2       18í01145       Corporation et al
                                   County of Plumas v. Amerisourcebergen Drug
  CAE       2       18í01146       Corporation et al
                                   County of Trinity v. Amerisourcebergen Drug
  CAE       2       18í01147       Corporation et al
                                   County of Shasta v. Amerisourcebergen Drug
  CAE       2       18í01148       Corporation et al

LOUISIANA EASTERN

  LAE       2       18í04789       Covington City v. Purdue Pharma LP, et al

MARYLAND

  MD        1       18í01349       Hunt v. Purdue Pharma L.P. et al

NEBRASKA

                                   Winnebago Tribe of Nebraska et al v. McKesson
  NE        8       18í00203       Corporation et al
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NEW JERSEY

                                   COUNTY OF HUDSON v. PURDUE PHARMA L.P.
  NJ         2       18í09029      et al Opposed 5/24/18

OREGON

                                   City of Portland, Oregon v. Amerisourcebergen Drug
  OR         3       18í00817      Corporation et al

WYOMING

  WY         1       18í00074      Carbon County Wyoming v. Purdue Pharma LP et al
